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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA               :    Crim. No. 24-00812 (KSH)

            v.                         :
                                            SENTENCING SUBMISSION NOTICE
JOOYEONG LEE                           :    OF THE UNITED STATES



      Please be advised that, on this date, the United States submitted sentencing

materials to the Court in this case concerning the defendant, Jooyeong Lee.

                                             Respectfully submitted,

                                             ALINA HABBA
                                             United States Attorney

      Dated: April 3, 2025                   /s/ Casey S. Smith
                                      By:    CASEY S. SMITH
                                             Assistant United States Attorney
